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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION


SHELBY MILLER,                                         CASE NO.: ____________

          Plaintiff,                                 Removed from the Iowa District Court in and
                                                     for Clarke County, No. LACV012796
v.

ELLIOTT OIL COMPANY,                                           NOTICE OF REMOVAL

          Defendant.


          COMES NOW, Defendant Elliott Oil Company, pursuant to 28 U.S.C. §§ 1331, 1441, and

1446 and Federal Rule of Civil Procedure 81, and give Notice of Removal of Case No. LACV012796

from the Iowa District Court for Clarke County to this Court. In support of this action, Defendant states

the following:

          1.      On September 21, 2020, Plaintiff filed an action entitled Shelby Miller v. Elliott Oil

Company, Case No. LACV012796, in the Iowa District Court in and for Clarke County. Plaintiff’s cause

of action included a single cause of action entitled: “COUNT I: VIOLATION OF THE FAMILIES

FIRST CORONAVIRUS RELIEF ACT, THE EMERGENCY PAID SICK LEAVE ACT, AND

THE FAIR LABOR STANDARDS ACT”. Plaintiff’s claim asserts rights pursuant to 29 U.S.C. §206

et seq.

          2.      Counsel for Plaintiff is:

          Nathan Borland
          Timmer & Judkins, P.L.L.C.
          1415 28th Street, Suite 375
          West Des Moines, IA 50266
          nate@timmerjudkins.com
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        3.      Plaintiff served her Original Notice & Petition upon Elliott Oil Company, on September

24, 2020. Defendant’s receipt of service of Plaintiff’s Original Notice & Petition serves as the first time

they were presented the federal question included within Plaintiff’s Petition based upon Plaintiff’s

assertion of the Emergency Paid Sick Leave Act, Pub. L. No. 116-127, § 5110(2), et seq., and Fair Labor

Standards Act, 29 U.S.C. §206 et seq. The service of Plaintiff’s Original Notice & Petition upon the

Defendant occurred within 30 days of this Notice of Removal.

        4.      The parties have conducted no discovery.

        5.      The case is within this Court’s jurisdiction under 28 U.S.C. § 1331 because Plaintiff’s

Petition presents a federal question—i.e., arising under the laws of the United States. Specifically, Count

I of Plaintiff’s Petition alleges a violation of the Emergency Paid Sick Leave Act, Pub. L. No. 116-127,

§ 5110(2), et seq., and Fair Labor Standards Act, 29 U.S.C. §206 et seq.

        6.      This case is properly removed to this Court pursuant to 28 U.S.C. §§ 1441 and 1446.

Pursuant to 28 U.S.C. § 1446(b), this Notice is being filed within 30 days of the service of the Plaintiff’s

Petition upon the Defendant.

        7.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be filed promptly

with the state court and served upon opposing counsel.

        8.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81(a), copies of all process, pleadings,

and orders filed in the state case are attached to the Local Rule 81(a) List on Removal, which is filed

contemporaneously herewith.

        WHEREFORE, Defendant Elliott Oil Company notifies this Court, the state court, and the

parties of the removal of this lawsuit to the United States District Court for the Southern District of Iowa,

Central Division.

        Respectfully submitted this 14th day of October, 2020.


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                                             /s/ Andrew T. Tice
                                             Andrew Tice (AT0007968)
                                             AHLERS & COONEY, P.C.
                                             100 Court Avenue, Suite 600
                                             Des Moines, Iowa 50309
                                             Telephone: (515) 243-7611
                                             Facsimile: (515) 243-2149
                                             atice@ahlerslaw.com
                                             ATTORNEYS FOR DEFENDANT

Electronically filed and served:
                                                            CERTIFICATE OF SERVICE
Nathan Borland                         The undersigned certifies that the foregoing instrument was served upon all
Timmer & Judkins, P.L.L.C.             parties to the above cause to each of the attorneys of record herein at their
                                       respective addresses disclosed on the pleadings on:           October 14, 2020
1415 28th Street, Suite 375
West Des Moines, IA 50266              By:    ☐      U.S. Mail                             ☐        Fax
nate@timmerjudkins.com                        ☐      Hand delivery                         ☐        Private Carrier
                                              ☒                                            ☐
ATTORNEYS FOR PLAINTIFF
                                                     Electronically (via CM/ECF)                    E-mail
                                       Signature:          /s/ Pam Norelius

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